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EEOC Form 161-8 (11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)

To: Melissa Green From: San Juan Local Office
1520 Lake Whitney Dr. 525 F D Roosevelt Ave
Windermere, FL 34786 1202 Plaza Las Americas

San Juan, PR 00918

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

EECC Charge No. EEOC Representative Telephone No.

Damien Luna,
510-2021-03168 Investigator (787) 520-5618

(See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.

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The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[ ] The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

On behaif of the Commission

Digitally signed by William R.
MeN - bate 3021.10.18 13:49:01 -04'00' October 1 8, 202 1

Enclosures(s) William R. Sanchez, (Date Issued)
Local Office Director

cc. Rob Trow, Manager Benjamin H. Yormak, Esq.
Dermaconcepts, LLC Yormak Employment & Disability Law
168 Industrial Drive 9990 Coconut Road

Mashpee, MA 02649 Bonita Springs, FL 34135
